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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.


                       GOVERNMENT’S REPLY IN SUPPORT OF
                    MOTION FOR EARLY RETURN TRIAL SUBPOENA

        The records sought by the government’s proposed trial subpoena to defendant Concord

Management and Consulting LLC are relevant and likely admissible under the Federal Rules of

Evidence. Moreover, the document requests set forth in the proposed trial subpoena are reasonably

specific because there is a sufficient likelihood, based on information gathered in the course of the

investigation, that the documents sought constitute relevant and admissible evidence. Concord’s

objections to the proposed subpoena are without merit. Concord has not met its burden to show

that the proposed subpoena requires it or any other entity to violate Russian law, and in any event

the foreign laws cited by Concord do not render the trial subpoena unreasonable or oppressive.

Concord cannot avoid the jurisdiction of this Court to authorize a trial subpoena by invoking its

status as a foreign corporation because Concord has voluntarily entered an appearance in this case

and thereby subjected itself to the jurisdiction of this Court. Finally, the trial subpoena will not

jeopardize the Court’s trial schedule. Accordingly, the government’s motion should be granted.

   I.      The Proposed Trial Subpoena Meets the Requirements of Rule 17(c)

        A party seeking an early-return trial subpoena under Federal Rule of Criminal Procedure

17(c) must show “(1) relevancy; (2) admissibility; [and] (3) specificity.” United States v. Binh


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Tango Vo, 78 F. Supp. 3d 171, 178 (D.D.C. 2015) (quoting United States v. Nixon, 418 U.S. 683,

700 (1974)). Concord does not dispute that the requested documents are relevant. Instead,

Concord argues that the requested documents are not admissible and that the subpoena is

insufficiently specific. Those arguments are without merit.

       Because “it will often be difficult at the pretrial stage to determine with precision the

admissibility of certain documents,” the first two prongs of the test are satisfied so long as the

documents sought are “arguably… admissible under the Rules of Evidence.” United States v.

Libby, 432 F. Supp. 2d 26, 31 (D.D.C. 2006). Here, the requested documents are not just

“arguably” admissible, they are almost certainly admissible under multiple rules of evidence. The

records sought in categories one through six and nine are business records. See Fed. R. Evid.

803(6); see, e.g., United States v. Ford, 435 F.3d 204, 214-215 (2d Cir. 2006) (upholding

admission of calendar as business record); United States v. McPartlin, 595 F.2d 1321, 1348 (7th

Cir. 1979) (same and collecting cases to the same effect); United States v. Catabran, 836 F.2d 453,

457 (9th Cir. 1988) (upholding admission of ledger of company financial transactions as business

record and collecting cases to the same effect). The records sought in categories seven and eight

are likely admissions of a party opponent and co-conspirator statements in furtherance of the

conspiracy charged in the Indictment. See Fed. R. Evid. 801(d)(2)(D) (statement of agent or

employee of an opposing party is not hearsay); Fed. R. Evid. 801(d)(2)(E) (statement by co-

conspirator in furtherance of conspiracy is not hearsay). Contrary to Concord’s suggestion (Doc.

273, at 7), the Court need not “assume that there was, in fact, a conspiracy, and that Concord

participated in the alleged conspiracy in exactly the way” that the Superseding Indictment

describes in order to grant the government’s motion. Rather, as Libby makes clear, because a trial

subpoena is issued at the pretrial stage, the evidence need only be “arguably” admissible. With



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respect to co-conspirator statements, the “general practice in this jurisdiction” is to allow the

government to conditionally admit the statements and defer ruling on the admissibility of the

statements until the conclusion of the government’s case in chief. United States v. Apodaca, 275

F. Supp. 3d 123, 138-139 (D.D.C. 2017). Under that general practice, the Court need not “assume”

the existence of the conspiracy in order to grant the government’s request for an early-return trial

subpoena requesting documents that likely would constitute co-conspirator statements. Rather,

the Court can (and should) conclude from the allegations in the Superseding Indictment that the

requested documents are at least arguably admissible subject to connection at trial and authorize

the trial subpoena on that basis.

       The proposed subpoena is also sufficiently specific. Rule 17 does not require “exquisite

specificity,” United States v. Poindexter, 727 F. Supp. 1501, 1510 (D.D.C. 1989). Instead, the

Rule requires only that the proponent can “reasonably specify the information…believed to be

contained in the documents sought” based on information gathered during the course of the

investigation. Libby, 432 F. Supp. 2d at 31 (quoting Noriega, 764 F. Supp. 1480, 1493 (S.D. Fla.

1991)). Here, each of the document requests in the subpoena is based on information that the

government obtained during its investigation providing a basis to conclude that the request will

yield evidence of the conspiracy.

       Thus, the Superseding Indictment alleges that defendant Yevgeniy Prigozhin controlled

Concord.    Doc. 247 ¶ 12.      This allegation is supported by evidence gathered during the

investigation and produced in discovery, including a Russian Federation tax record listing

Prigozhin as the Founder of Concord Management and Consulting. The records requested in

categories one and two of the proposed subpoena call for records relevant to this allegation.




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       The Superseding Indictment further alleges that the conspirators used computer

infrastructure to conceal their Russian identities. Doc. 247 ¶¶ 39-40. This allegation is supported

by evidence gathered during the investigation and produced in discovery, including search warrant

returns for social media accounts and subpoena returns showing that the conspirators accessed the

social media accounts that they used to further the conspiracy through virtual private networks and

virtual private servers hosted in the United States. The records requested in category three call for

Internet Protocol address records that would further connect Concord to that activity. In addition,

the Superseding Indictment references email communications among the conspirators in

furtherance of the conspiracy. Id. ¶¶ 13b, 33, 37, 38, 42, 43a. The Internet Protocol address

records requested in category three would further connect Concord to those communications.

       The Superseding Indictment further alleges that Concord participated in the conspiracy by

funding the operations of the Internet Research Agency. Doc. 247 ¶ 11. The Superseding

Indictment also identifies other Russian entities that Concord used to conceal its conduct. Id. This

allegation is supported by evidence gathered during the investigation and produced in discovery,

including budget information spreadsheets emailed between an accountant for the Internet

Research Agency and employees of Concord. The records requested in categories four through

seven are relevant to these allegations.

       Finally, evidence gathered during the investigation and produced in discovery shows

contacts between employees of the Internet Research Agency and employees of Concord. In

addition to the emails regarding budget spreadsheets discussed above, the government has obtained

screenshots of calendar entries showing Prigozhin meeting with at least one IRA employee.

       The evidence discussed above establishes that the categories of records sought by the

proposed subpoena do not constitute the sort of fishing expedition prohibited by Rule 17(c). On



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the contrary, the courts have upheld trial subpoenas seeking these kinds of records. See, e.g.,

United States v. Nosal, 291 F.R.D. 403, 409 (N.D. Cal. 2013) (upholding in part trial subpoena

issued by defendant to third party requesting “any and all…documents” related to particular

allegations in indictment); United States v. Rajaratnam, 2011 U.S. Dist. LEXIS 10176, at *8-*9

(S.D.N.Y. Feb. 2, 2011) (granting government’s application for trial subpoena to corporation

seeking certain trading records, corporate documents, and “any and all e-mails sent or receiving

by” the defendant regarding certain subjects on the ground that the subpoena requested categories

of documents “in furtherance of the alleged conspiracies”); Libby, 432 F. Supp. 2d at 35-36

(upholding trial subpoena requesting “all documents” referencing certain individuals or discussing

certain topics); United States v. McCollom, 651 F. Supp. 1217, 1219-25 (N.D. Ill. 1987) (denying

in relevant part motion to quash trial subpoena requesting “any and all original checks, check

registers, or withdrawal slips, or other information reflecting withdrawals of funds or the drawing

on funds from accounts” owned by defendant and ruling that “[d]esignation of kinds of documents

with reasonable particularity will suffice”); United States v. Gel Spice Co., 601 F. Supp. 1214,

1220 (E.D.N.Y. 1985) (denying motion to quash trial subpoena issued to corporate defendant

requesting “records regarding the shipment and importation of certain foods” and concluding that

Rule 17(c) “provides for the subpoena of corporate records”).

       The case relied upon by Concord, United States v. North, 708 F. Supp. 402 (D.D.C. 1989),

only underscores the government’s argument. In North, the Court denied the government’s motion

for a trial subpoena requesting notebooks used by the defendant over a nearly four-year period on

the ground that the government could not “identify any material entry or practice that assures the

Court that the standards of relevance, materiality and necessity” would be satisfied. Id. at 404.

The Court further noted that “the massive documentation already in the case suggests that further



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data would be superfluous.” Id. Here, by contrast, for each category of requested records, the

government has identified evidence and information that would show that the documents within

each category are reasonably likely to be relevant and admissible.

    II.        Concord’s Other Objections to the Proposed Subpoena Lack Merit

          Concord contends (Doc. 273, at 8-17) that the motion “ignores” certain “complexities.”

Specifically, Concord posits that producing the requested records may violate Russian law (id. at

8-13), that this Court lacks authority to issue an order to produce records in this case to a party that

has appeared in this case (id. at 13-16), and that the motion should be denied because any records

produced now would come too close in time to the scheduled April trial date (id. at 16-17). Each

argument lacks merit.

    A. Concord’s Asserted Conflict with Russian Law Does Not Render the Subpoena
       Unreasonable or Oppressive

          1.      Concord has not met and cannot meet its burden of showing that
                  compliance would violate Russian law

          As “the party who ‘relies on foreign law,’” Concord “assumes the burden of showing that

such law prevents compliance.” In re Grand Jury Subpoena, 912 F.3d 623 (D.C. Cir. 2019)

(quoting In re Sealed Case, 825 F.2d 494, 498 (D.C. Cir. 1987) (per curiam)). Concord has not

come close to meeting that burden. Instead, Concord purports to quote what is presumably its own

translation of Russian statutes. (Concord does not provide that translation to the Court or the

government but merely links to Russian-language text.) Concord then asserts that compliance

with this subpoena would violate those statutes without providing any detailed textual argument

or citing any example of a Russian court taking that position. Cf. In re Grand Jury Subpoena, 912

F.3d at 634 (discounting declarations of retained experts and foreign “regulatory body” that cited

no court case). Indeed, although Concord sometimes states that compliance with the requested

subpoena would require Concord to violate Russian law, it elsewhere hedges by stating only that
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there is “potential legal peril” or that compliance would “arguably” violate a statute. Doc. 273, at

8, 9 (emphases added). Although Concord (a Russian company) and its Russian lawyers are far

better positioned than the government to review Russian law, the most that it can do is offer

qualified assertions based on translations that it has not even provided to the government or the

Court.

         Concord’s asserted conflicts with Russian law are, in any event, implausible to say the

least. First, Concord suggests that turning over its own business records would “arguably”

constitute “rendering financial, logistical, consultancy or other assistance to a foreign government

. . . in activities directed against the security of the Russian Federation.” Doc. 273, at 9 (quoting

Concord’s translation). 1 Yet Concord has repeatedly declared that it is not part of the Russian

government and has sought to distance its activities from that of the Russian government. The

only apparent reason that Concord views providing business records for this trial as an action

“directed against the security of the Russian Federation” is that the United States sanctioned the

defendants in this case based on the election interference activities that the Indictment alleges was

the motive for the conspiracy to defraud the United States government. Concord, however, does

not explain why sanctions of non-governmental persons in Russia concern “the security of the

Russian federation.” Id. Indeed, Concord’s acknowledgement (id. at 10 n.3) that Russia is

“considering” a bill barring the provision of information “that leads to the imposition of sanctions”

underscores the implausibility of the argument under the existing statute. Nor, in any event, does

Concord explain why providing records that concern entities and individuals who have already



         1
         Other translations available online only further suggest that “treason” concerns rending
assistance “in hostile activities to the detriment of the external security of the Russian Federation.”
https://www.wipo.int/edocs/lexdocs/laws/en/ru/ru080en.pdf. It is unclear if that particular
formulation is out of date, but then again suggests the intuitive point that merely providing business
records to the United States is not “treason.”
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been sanctioned could be “directed against” Russia’s interest in preventing sanctions of private

persons.

       Additionally, although Concord has not provided whatever translation its American

attorneys presumably reviewed before making these representations to the Court, a Google

translation of the cited treason provision states that persons “shall be exempted from criminal

liability” if they “voluntarily and promptly communicate[] to the authorities or otherwise

contribute[] to the prevention of further damage” and their “actions do not contain another

composition crime.” Although the government is not currently in a position to opine on this

exception, it appears to provide a potentially-broad exemption from liability. Concord’s failure to

address the full section underscores the failure to meet its burden.

       Second, Concord states (Doc. 273, at 10-11) that “[p]roviding information on Russian

computer networks” would run afoul of what appears to be a cyber-security law. Here Concord

does not even provide its own translation of that law but instead paraphrases it as barring “any

violation of the rules of access or operation of computer networks that leads to a major loss,

blocking, modification or copying of computer information.” Id. at 11.        As an initial matter,

Concord does not explain what network access rule would be violated. Indeed, insofar as the

putative subpoena seeks Concord’s own business records, it is unlikely that a network access rule

prevents Concord from removing or transferring those records.

       Concord also acknowledges that this law applies only where the activity has a serious,

detrimental effect.   Concord’s paraphrasing states that there must be “a major loss, blocking,

modification or copying of computer information.” Id. A Google translation of the source cited

by Concord similarly states that there must be “destruction, blocking, modification, or copying of

computer information,” but adds “which caused major damage.” One English-language source



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describes this as governing “violations of special rules and protocols for storage, processing or

transfer of digital data or equipment, as well as violations of network access rules that lead to

serious harm.” 2 Yet Concord provides scant explanation for how providing records such as

corporate documents or calendar entries could result in such serious damage to a computer

network. Concord speculates that “information provided by Concord could or would be used for

surveillance purposes” or “cyberattacks.” Doc. 273, at 11. Concord does not begin to explain why

the categories of information sought here—which include corporate registration documents,

financial records, and calendar entries—would be useful for mounting a cyber attack or why the

alleged intervening cause of further U.S. government action would constitute Concord’s having

caused the hypothetical damage.

       Finally, with respect to three categories of records—records of meetings and both

categories of communications—Concord declares (Doc. 273, at 10-11) that producing the records

would violate Russian privacy laws governing “personal data” and “privacy.” Concord, however,

provides no explanation for whether and what information in Concord’s possession constitutes

personal data or why particular data or identifiers could not be redacted if appropriate. Nor does

Concord support the implausible assertion that giving someone corporate emails or records of

meetings to a court is illegal. In fact, one secondary source states that “no protection is granted

against disclosure to the responsible authorities in the course of an official investigation” 3

       2.       Even if Concord had or could meet its burden to shown a conflict with foreign
                law, the requested subpoena would not be unreasonable or oppressive

       Even if Concord could show that the subpoena would subject it to conflicting legal

obligations, the subpoena would not be unreasonable or oppressive. Courts have long recognized


       2
           http://www.mondaq.com/russianfederation/x/641110/Crime/Business+Crime+2018
       3
           http://www.mondaq.com/russianfederation/x/641110/Crime/Business+Crime+2018
                                                  9
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that the operation of foreign law “do[es] not deprive an American court of the power to order a

party subject to its jurisdiction to produce evidence even though the act of production may violate

that statute.” Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Court, 482 U.S. 522, 544

n.29 (1987); see In re Sealed Case, 932 F.3d 915, 931-939 (D.C. Cir. 2019). “[A]lthough courts

recognize comity as an important objective, there is little doubt that ‘[a] United States Court has

the power to order any party within its jurisdiction to testify or produce documents regardless of a

foreign sovereign’s views to the contrary.’” In re Sealed Case, 832 F.2d 1268, 1283 (D.C. Cir.

1987) (citation omitted).

       If confronted with such a conflict, courts must engage in a comity balancing that considers

a “constellation of factors” including the importance of the requested records, the degree of

specificity, whether the information originated in the United States, the availability of alternative

means to obtain the same records, the extent to which noncompliance would undermine important

interests of the United States or of the country where the information is located, hardship on the

subpoenaed party, and whether that party has acted in good faith. Sealed Case, 932 F.3d at 931-

932; see Société Nationale, 482 U.S. at 544 n.28; Restatement (Third) of the Foreign Relations

Law of the United States § 442(1)(c) (1987); see also, e.g., In re: Grand Jury Proceedings Bank

of Nova Scotia, 740 F.2d 817, 827 (11th Cir. 1984); United States v. Vetco, Inc., 691 F.2d 1281,

1288 (9th Cir. 1981).

       Most significantly, the United States has an overwhelming interest in obtaining evidence

that bears on this case.    “The United States has a strong national interest in the effective

enforcement of its criminal laws.” United States v. Davis, 767 F.2d 1025, 1035 (2d Cir. 1985);

see Vetco, 691 F.2d at 1288 n.9 (in conducting comity analysis, “[i]t is important to distinguish

between action brought by the government . . . and private suits”); see also Davis, 767 F.2d at



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1035 (noting that “the subpoena . . . arose in the course of a criminal suit brought by the United

States government” and therefore “accord[ing] some deference” to the government’s decision that

the “benefits of disclosure” outweigh any diplomatic friction); cf. Pasquantino v. United States,

544 U.S. 349, 369 (2005); United States v. Sinovel Wind Group, 794 F.3d 787, 792 (7th Cir. 2015).

This is all the more so in a case that does not just concern any alleged violation of U.S. criminal

law, but rather a systematic effort to interfere in a presidential election and a conspiracy to deceive

and impair the government agencies charged with monitoring, regulating, and enforcing laws

concerning foreign influence. The government believes that the requested evidence is important

in this case. While the government has reason to believe that the requested records exist and are

in Concord’s control, the government believes that it cannot obtain the same records elsewhere.

And as discussed above, the requested subpoena is specific and tailored to those categories of

documents that are believed to exist.

       Additionally, Concord voluntarily chose to appear in this case. And, as the Court well

knows, Concord has obtained substantial discovery and continues to seek additional information

about how the United States detected its activities and detects and responds to related activities

more generally. Foreign entities should not lightly be permitted to come to U.S. courts while

shielding themselves from the same obligations that would apply to American defendants. Cf. In

re Grand Jury Proceedings Bank of Nova Scotia, 740 F.2d 817, 828 (11th Cir. 1984) (explaining

that where a bank “voluntarily elected” to do business abroad, it “accepted the incidental risk of

occasional inconsistent governmental actions” and “cannot expect to avail itself of the benefits of

doing business here without accepting the concomitant obligations”).

       Requiring compliance would do little, if any, violence to Russian sovereign interests.

Although Russia’s generalized interests in national security, computer network integrity, and



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privacy may be weighty in some sense, the harm to those interests incurred by disclosing the

particular records requested here is non-existent or minimal. Cf. Societe Nationale, 482 U.S. at

544 n.29 (foreign state’s “blocking” statute “is relevant” to “comity analysis only to the extent that

its terms and its enforcement identify the nature of the sovereign interests in nondisclosure of

specific kinds of material.”); United States v. First Nat’l City Bank, 396 F.2d 897, 903 (2d Cir.

1968) (“mere existence of a bank secrecy doctrine” does not automatically mean that its violation

would undermine “an important public policy of [the enacting country]”).

       Even if compliance with the subpoena violated Russian law, Concord has also provided

little reason to believe that it would, in fact, be prosecuted. At most, Concord’s “violation” would

appear to be a tangential application of the statutes compelled by a U.S. court order. Any claimed

hardship warrants little if any weight where there is no example of someone being prosecuted

under similar circumstances. See Linde v. Arab Bank, PLC, 706 F.3d 92, 114 (2d Cir. 2013);

Vetco, Inc., 691 F.2d at 1289; see also Restatement (Fourth) of the Foreign Relations Law of the

United States § 442, comment b (foreign-state-compulsion defense “requires,” inter alia, that “risk

of punishment must not be purely hypothetical”). And countries are generally less likely to

prosecute their citizens for disclosing business records to foreign governments and as ordered by

a foreign court than if disclosing to private parties or doing so voluntarily. See, e.g., Linde, 706

F.3d at 114. Indeed, Concord’s suggestion that the Russian State has an interest in Concord and

the sanctions levied against it further calls into question whether Russia would prosecute Concord.

Cf. Aerospatiale, 482 U.S. at 528 n.10, 544 n.29 (corporation owned by government “stand[s] in

most advantageous position” in decision whether to prosecute); Societe Internationale v. Rogers,

357 U.S. 197, 205 (1958) (Swiss banking company was “in a most advantageous position to plead

with its own sovereign for relaxation of penal laws” relating to bank secrecy).



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       Rather than engage with the controlling legal standard, Concord declares that if the

subpoena required it “to violate Russian law on Russian soil,” that would be “improper under

controlling law.” Doc. 273, at 9 (citing In re Sealed Case, 825 F.2d at 498); see id. at 8 (asserting

that “under circumstances like those here” a foreign law conflict would render the subpoena

“unreasonable or oppressive). Concord, however, misunderstands the “controlling law.” The

primary case Concord cites, Sealed Case, 825 F.2d at 498, itself appears to have conducted a multi-

factor balancing. The court made clear that its decision turned on and was expressly limited to

“the peculiar facts of th[at] case.” Id.; see id. at 499 (“emphasiz[ing] again the limited nature of

[its] holding”).   The court deemed it “[m]ost important” that the contempt order at issue

“represent[ed] an attempt by an American court to compel a foreign person to violate the laws of

a different foreign sovereign on that sovereign’s own territory,” id.—that is, that the order

compelled a bank owned by one country to violate a second country’s laws. The court also stressed

that the subpoena was directed to “a third party that has not been accused of any wrongdoing,” that

there was no dispute about the application of foreign law, and that there were likely alternative

means to obtain at least some of the same evidence. Id. at 498-499. Here, by contrast, the subpoena

is directed to an indicted defendant, the application of foreign law proffered by Concord is dubious

at best, and there are no alternative means to obtain the evidence. In any event, as discussed, the

Supreme Court and D.C. Circuit have subsequently made clear that even a proven violation of

foreign law does not necessarily render a subpoena unreasonable or oppressive. See pp. 9-10,

supra; see also Note, The Aerospatiale Dilemma: Why U.S. Courts Ignore Blocking Statutes and

What Foreign States Can Do About It, 106 Cal. L. Rev. 231, 245 (2018) (surveying post-Societe

Nationale federal authorities and finding “[c]ourts compelled foreign parties to produce discovery

in violation of foreign law in thirty-seven of . . . forty-two contemplated orders”).



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       In sum, Concord has not made a credible argument the subpoena would force Concord to

violate Russian law. And, in all events, the asserted conflict with Russian law would not render

the subpoena invalid. “No nation is under an unremitting obligation to enforce foreign interests

which are fundamentally prejudicial to those of the domestic forum.” Laker Airways v. Sabena,

731 F.2d 909, 937 (D.C. Cir. 1984). Concord has not come close to demonstrating that the

requested subpoena would be unreasonable or oppressive.

   B. This Court Can Issue An Order In This Case To A Party Who Has Chosen To Appear
      In The Case

       Concord next contends (Doc. 273, at 13-16) that because it is a foreign corporation located

abroad, it cannot be issued a subpoena to produce documents in connection with this case. In

particular, Concord urges that its trial counsel “has no authority to accept” a trial subpoena (id. at

14) and that the Court, in any event, lacks personal jurisdiction over Concord and therefore cannot

order it to produce records (id. at 14-16). Concord ignores the critical fact that it is properly a

party in this case. The Court therefore can issue orders to Concord concerning this case. That

includes a trial subpoena—an order to produce records that are relevant to and admissible in the

case. See Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 264 (2004) (a “tribunal has

jurisdiction over those appearing before it” and therefore can “order them to produce evidence”)

(discussing authority of foreign courts); Restatement (Fourth) of the Foreign Relations Law of the

United States § 426(1) (2018) (“A court in the United States, when authorized by law, may order

a person subject to its jurisdiction to produce documents or other forms of evidence”); cf., e.g., Shi

v. New Mighty United States Trust, 918 F.3d 944, 951 (D.C. Cir. 2019) (explaining that “U.S.

witnesses are subject to subpoena by U.S. courts and those courts can reach foreign non-party

witnesses” through other, specified means) (emphasis added). Concord’s reliance on cases that




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concern the personal jurisdiction over foreign corporations who are not parties to the relevant case

therefore have no bearing on this Court’s authority to issue a subpoena to Concord.

       Lest there be any doubt, Concord is a corporation that voluntarily chose to appear and is

participating in this case through counsel. See Fed. R. Crim. P. 43(b)(1); Def. Opp. to Mot. to

Continue Initial Appearance and Arraignment (Doc. 8), at 2 (citing United States v. Kolon Industs.

Inc., 926 F. Supp. 2d 794, 798 (E.D. Va. 2013) for the proposition that “voluntary appearance by

a defendant can give rise to jurisdiction”).      Separate and aside from establishing personal

jurisdiction based on a person’s physical presence or business contacts with a forum, a court may

establish personal jurisdiction based on consent. In re Sealed Case, 932 F.3d at 922; see Insurance

Corp. of Ireland v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 703-704 (1982) (describing

various examples of parties consenting); see also Restatement (Fourth) of the Foreign Relations

Law of the United States § 423(1) (2018) (“A court in the United States may exercise in personam

jurisdiction over a defendant only if the defendant has been properly served or has waived

service.”) (emphasis added). When a foreign corporation chooses to appear in litigation in the

District of Columbia, that corporation subjects itself to process arising out of that litigation. See

Kelberine v. Societe Internationale, 363 F.2d 989, 993 (D.C. Cir. 1966) (foreign corporation that

filed civil suit in the District of Columbia “voluntarily subjected itself to the jurisdiction of the

court” and therefore “the agent of the corporation present in the District for the purpose of

conducting the litigation in the courts here was subject to process”). That is the case here.

       In fact, after Concord initially disputed whether it had been properly served with a

summons in this case, the Court confirmed that defense counsel was authorized “to enter a

voluntary appearance in this matter and to subject [Concord] to the jurisdiction of this Court.”

5/9/18 Tr. 4-5. The Court clarified that Concord understood “that by doing so, it must also comply



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with the Federal Rules of Criminal Procedure, the rules of this Court, and with the orders of this

Court,” and defense counsel agreed. Id. at 5. A trial subpoena is an order of this Court issued in

this case pursuant to the Federal Criminal Rules. Yet Concord (through that same counsel) now

suggests that the Court has no authority to issue such an order to Concord. Indeed, this raises the

question whether Concord believes that the Court has personal jurisdiction with respect to other

orders issues in this case, such as the protective order governing the extensive discovery provided

to the defense, or the Court’s scheduling order requiring Concord to provide the government with

trial exhibits. 4

    C. Concord’s Scheduling Argument Lacks Merit

         Finally, the trial subpoena to Concord will not “completely derail the Court’s pretrial

scheduling order.” Doc. 273, at 16. The government filed its motion requesting authority to issue

an early-return trial subpoena to Concord over four months before the scheduled trial date in this

case. That gives Concord plenty of time to produce the requested documents, most of which should

be easy to gather and all of which should be easy to identify, on a rolling basis. Concord does not

even attempt to explain, for example, why it cannot produce its own corporate registration

documents, or its payment records, or calendar entries, well in advance of the April 2020 trial date.

Nor does Concord explain why it would be so difficult to identify communications with particular




         4
          Concord additionally observes (Doc. 273, at 13) that the cases cited by the government in
its motion for an early return trial subpoena did not concern a foreign corporation and records
located abroad. Concord does not explain what, if any, further relevance that has to its argument.
As discussed, where courts have jurisdiction over a person, courts can order that person to produce
records wherever they may be located. That includes corporations located abroad. See, e.g.,
Sealed Case, 932 F.3d at 924-927. Concord has chosen to appear and participate in this case. This
Court therefore has jurisdiction over Concord to issue orders concerning this case. As for the
asserted “importan[ce]” of obtaining an immunity order for a subpoenaed witness, Doc. 273, at
13, it is black-letter law that corporations have no privilege against self-incrimination. Braswell
v. United States, 487 U.S. 99, 102 (1988).
                                                 16
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identified individuals. The government expects that the trial subpoena return will yield a limited

number of documents that the government would designate as additions to its exhibit list. These

limited number of documents likely would generate very little pretrial litigation, since the

categories of documents identified in the proposed subpoena are plainly relevant and admissible

as business records and admissions of a party opponent. And if Concord truly were prejudiced by

the timing, then Concord could seek a continuance of the trial date or any other relief it deemed

appropriate at that point. There is no legal authority to support the proposition that the government

must serve a trial subpoena more than four months in advance of a trial date in order to obtain the

requested documents.

                                   *       *       *       *       *

        Like any criminal defendant, Concord has received the protections and the benefits of the

Federal Rules of Criminal Procedure, including the right to file pretrial motions challenging the

validity of the indictment, the right to pretrial discovery, the right to a bill of particulars, and the

right to file motions to compel documents and information. Having received those benefits,

Concord now looks to inapplicable foreign laws and inapposite cases concerning non-party

subpoenas to avoid the basic obligation of every criminal defendant—the obligation to subject

itself to the jurisdiction of the Court, an obligation that Concord’s counsel assumed in their

representations to the Court from their first appearance in this case. Concord’s arguments should

be rejected and the government should be permitted to issue an early-return trial subpoena

requesting the categories of documents set forth in the proposed attachment with a return date that

the Court deems appropriate.

                                        Respectfully submitted,


JOHN C. DEMERS                                                  JESSIE K. LIU

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